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                    IN THE LTNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MINNESOTA



James Caron Butler, Ben Gordon, Anthony Tolliver,
and Derrick Williams, individually, and on behalf of
all others similarly situated,
                                                                                  C-}.'a *r
                                                                                  ;-
                           Plaintiffs,
                                                                 Civil ActionNo|l        ;r::

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                                                                 CLASS ACTION' -r,,
National Basketball Association, Atlanta Hawks, LP,              COMPLAINT--,
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B anner S eventeen LLC, B obcats B asketball, LLC,                            ,t - ,,   ,:,.

                                                                                                   .:I
Chicago Professional Sports Limited Partnership,                 ruRY TRIAL           4
Cavaliers Operating Company, LLC, Dallas Basketball              REQUESTED
Limited, The Denver Nuggets Limited Partnership,
Detroit Pistons Basketball Company, Golden State
Warriors, LLC, Rocket Ball, Ltd., Pacers Basketball,
LLC, LAC Basketball Club, Inc., The Los Angeles
Lakers, Inc., Hoops, L.P., Miami Heat Limited
Partnership, Milwaukee Bucks, Inc., Minnesota
Timberwolves Basketball Limited Partnership, New
Jersey Basketball,LLC, New Orleans Hornets NBA
Limited Partnership, Madison Square Garden, L.P.,
Professional Basketball Club, LLC, Orlando Magic,
Ltd., Philadelphia 76ers, L.P., Suns Legacy Partners,
L.L.C., Trail Blazers, Inc., Sacramento Kings Limited
Partnership, San Antonio Spurs, L.L.C., Maple Leaf
Sports & Entertainment Ltd., Jazz Basketball
Investors, Inc., and Washington Bullets, L.P.,

                            Defendants.



       Plaintiffs, by their undersigned attorneys, for their Complaint herein allege               as


follows:




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                                      INTRODUCTION

                 1.   Plaintiffs are filing this class action to redress violations by each

defendant of the federal antitrust laws and applicable state contract and tort laws.

Plaintiffs are four professional basketball players, and similarly situated players who have

entered into, and/or who seek to enter into, player contracts with National Basketball

Association (.'NBA") teams.

                 2.   Defendants, the NBA and its separately-owned and independently-

operated member teams, have jointly agreed and conspired to deny Plaintiffs the ability to

provide and/or market their services in the major league market for professional

basketball players through an unlawful group boycott and price-fixing arrangement.

                 3.   The NBA Defendants' anticompetitive agreements include a boycott

that has eliminated competition in the free agent marketplace for players no longer under

contract, as well as a boycott of rookie players seeking an NBA contract for the first time.

The NBA Defendants have also conspired to refuse to deal with or to honor the contracts

of players who have NBA contracts. The anticompetitive purpose of this group boycott

is to coerce Plaintiffs and the other players to succumb to a new anticompetitive system

of player restraints which will, among other things, drastically reduce player

compensation levels below those that would exist in a competitive market.

                 4.    The group boycott, concerted refusal to deal and price-fixing which

Defendants are carrying out are pc1 se illegal acts under Section 1 of the Sherman Act, 15

U.S.C. $   l.   Should these anticompetitive agreements be alternatively evaluated under the

"quick look" or even a full blown rule of reason test, they would still be illegal. As        a
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result of Defendants' anticompetitive agreements, Plaintiffs and other similarly situated

current and future professional basketball players who are employed by or seeking

employment with an NBA club will be prevented from offering or providing their

services in a competitive market and from receiving a competitive market value for their

services, and   will be denied the freedom of movement available to employees in virtually

every other industry in the United States.

                5.   The NBA Defendants cannot defend their violations of the federal

antitrust laws by hiding behind the non-statutory labor exemption to the antitrust laws.

Under Supreme Court precedent and settled law in this Circuit, that exemption only

conceivably applies as long as a collective bargaining relationship exists between the

NBA Defendants and the players. Here, however, the collective bargaining process and

relationship have completely broken down, and the NBA players have exercised their

labor law right not to be in a union. Specifically, after more than two years of futile

bargaining, and the refusal of the NBA to negotiate any further, the NBA players ended

the role of the National Basketball Players Association   ('NBPA")   as   their collective

bargaining representative and no longer have a collective bargaining relationship with the

NBA Defendants. The consequence is that any labor exemption to the antitrust laws no

longer applies.

                6.   Independent of their federal antitrust violations, the NBA Defendants'

boycott also gives rise to state law contractual and tort claims on behalf of Plaintiffs and

class members. There is no "labor exemption" or any other legal justification for the

NBA Defendants agreeing not to adhere to the terms of operative player contracts and to
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interfere with the right of players not under contract to seek employment for their

services as professional basketball players.

                                     JURISDICTION AND VENUE

                      7.     These claims arise and are brousht under Sections 4 and 16 of the

Clayton Act, 15 U.S.C. $$ 15, 26, and Section              I of the Sherman Antitrust Act, 15 U.S.C.

$   l,   as   well   as applicable state contract and   tort laws.

                      8.     This Court has jurisdiction pursuant to 28 U.S.C. $$ 133l,1337 and

1367.

                      9.     Venue in this action is proper pursuant to 28 U.S.C. $   l39l   and 15

U.S.C. $ 22. Each of the Defendants can be found, resides, has an agent, or transacts

business in the District of Minnesota, and the unlawful activities were or          will be carried

on in part by one or more of the Defendants within this district. Additionally, Plaintiff

Anthony Tolliver is employed within this district by the Minnesota Timberwolves.

                                              THE PARTIES

                       10.   Plaintiff James Caron Butler is a professional basketball player who is

a free agent who last played with the Dallas Mavericks and lives in Racine, Wisconsin.

                       11.   Plaintiff Ben Gordon is presently under contract with the Detroit

Pistons. He lives in Rochester. Michiean.

                       12.   Plaintiff Anthony Tolliver is presently under contract with the

Minnesota Timberwolves.
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              13.   Plaintiff Derrick Williams was the second overall pick of the 2011

NBA draft, was selected by the Minnesota Timberwolves and has received a Required

Tender from the Minnesota Timberwolves.

              14.   Defendant NBA, which maintains its offices at 645 Fifth Avenue

New York, New York, is an unincorporated association consisting of the 30 separately-

owned and independently-operated professional basketball teams that are listed in

paragraph 21. The NBA is engaged in interstate commerce in the business of, among

other things, operating the sole major professional basketball league in the United States.

              15.   The other Defendants are the 30 NBA member teams in the United

States and Canada, each of which, upon information and belief, is a corporation, except

where noted below (collectively with the NBA, the "NBA Defendants"). Upon

information and beliel each of the defendant teams is a separately-owned and

independent entity which operates a professional basketball franchise for profit under the

team name and in the cities set forth below:

Defendant NBA Teams                      State of Organization     NBA Franchise (City)

Atlanta Hawks. LP                        Georeia                   Atlanta Hawks
Banner Seventeen LLC                     Delaware                  Boston Celtics
Bobcats Basketball LLC                   Delaware                  Charlotte Bobcats
Chicago Professional Sports Limited      Illinois                  Chicago Bulls
Partnership
Cavaliers Operating Company, LLC         Delaware                  Cleveland Cavaliers

Dallas Basketball Limited                Texas                     Dallas Mavericks

The Denver Nuggets Limited               Delaware                  Denver Nuggets
Partnership
Detroit Pistons Basketball Company       Michigan                  Detroit Pistons
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Golden State Warriors, LLC           California        Golden State
                                                       Warriors
Rocket Ball, Ltd.                    Texas             Houston Rockets

Pacers Basketball,   LLC             Indiana           Indiana Pacers

LAC Basketball Club. Inc.            California        Los Angeles Clippers

The Los Angeles Lakers, Inc.         California        Los Angeles Lakers

Hoops, L.P.                          Delaware          Memphis Grizzlies

Miami Heat Limited Partnership       Florida           Miami Heat

Milwaukee Bucks. Inc.                Wisconsin         Milwaukee Bucks

Minnesota Timberwolves B asketball   Minnesota         Minnesota
Limited Partnershio                                    Timberwolves
New Jersey Basketb all, LLC          New Jersev        New Jersev Nets

New Orleans Hornets NBA Limited      North Carolina    New Orleans Hornets
Parfrrership
Madison Square Garden, L.P.          Delaware          New York Knicks

The Professional Basketball Club.    Oklahoma          Oklahoma City
LLC                                                    Thunder
Orlando Magic, Ltd.                  Florida           Orlando Magic

Philadelphia 76ers, L.P.             Delaware          PhiladelphiaT6ers

Suns Legacy Partners, L.L.C.         Delaware          Phoenix Suns

TrailBlazers. Inc.                   Oregon            Portland Trail Blazers

Sacramento Kings Limited             California        Sacramento Kings
Partnership. LP
San Antonio Spurs, L.L.C.            Texas             San   Antonio Spurs

Maple Leaf Sports & Entertainment    Ontario. Canada   Toronto Raptors
Ltd.
J azz Basketball Investors. Inc.     Utah              UtahJazz
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Washington Bullets, L.P.                  District of   Columbia     I Washington Wizards




                            CLASS ACTION ALLEGATIONS

              16.    Plaintiffs James Caron Butler, Ben Gordon, Anthony Tolliver and

Denick Williams (collectively "Plaintiffs") are representatives of     a class, as defined   by

Rule 23(b)(l),23 (bX2) and/or Rule 23(b)(3) of the Federal Rules of Civil Procedure, and

bring this action on behalf of themselves and the class members as described in paragraph

15.


              17.    The class represented by Plaintiffs is comprised of (i) all players who

are under contract to play professional basketball for an NBA team at any time from

November 14,201I to the date of final judgment in this action and the determination          of
any appeal therefrom (the "Under-Contract Subclass"),      (ii) all players who are not under

contract with an NBA team and are seeking employment as professional basketball

players for an NBA team at any time from November 14,2011 to the date of final

judgment in this action and the determination of any appeal therefrom (the "Free Agent

Subclass"), and   (iii) all players who have not previously   been under contract with an

NBA team and, as of November 15,2011, to the date of final judgment in this action and

the determination of any appeal therefrom, are or will be eligible to play basketball as a

rookie for an NBA team (the "Rookie Subclass").

              18.     The class and each subclass are so numerous and geographically so

widely dispersed that joinder of all members is impracticable. There are questions of law

and fact common to the class. Plaintiffs' claims are typical of the claims of the class or
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subclass that they represent, and the Plaintiffs   will fairly   and adequately protect the

interests of the class or subclass that they represent. Common questions of law and fact

predominate within the meaning of Rule 23(bX3) of the Federal Rules of Civil Procedure.

               19.   Each person in the class or subclass is, has been, and/or     will be

subject to Defendants' boycott. To the extent that in the future the NBA Defendants

agreed to a different of player restraints, they would be uniformly imposed on members

of the class or subclass.

               20.   Except for provisions as to individual compensation and other

variations which do not materially affect this action, the contracts signed by NBA players

are virtually identical throughout the NBA.

               21.   The prosecution of separate actions by individual members of the

class would create the risk of:

                             (a) inconsistent or varying adjudications with respect to

                     individual class members that would establish incompatible standards

                     of conduct for the party opposing the class; or

                             (b) adjudications with respect to individual class members

                     that, as a practical matter, would be dispositive of the interests of the

                     other members not parties to the individual adjudications or would

                     substantially impair or impede their ability to protect their interests

                     within the meaning of Rule 23(b)(l) of the Federal Rules of Civil

                     Procedure.
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               22.     In construing and enforcing their uniform agreements, rules and

practices, and in taking and planning to take the actions described in this complaint, the

Defendants have acted or refused to act on grounds that apply generally to the class, so

that final injunctive relief or corresponding declaratory relief would be appropriate for the

class as a whole within the meaning of Rule 23(b)(2).

               23.     Questions of law and fact are common to the class and each of the

subclasses and predominate over any questions affecting only individual class members,

including legal and factual issues relating to liability, damages and restitution. This class

action is superior to the alternatives, if any, for the fair and efficient adjudication of this

controversy. Prosecution as a class action will eliminate the possibility of repetitive

litigation. There will be no material difficulty in the management of this action as a class

action.

               NATURE OF INTERSTATE TRADE AND COMMERCE

               24.     The primary business in which Defendants are engaged is the

operation of major league professional basketball teams and the sale of tickets and

telecast rights to the public for the exhibition of the individual and collective basketball

talents of players such as Plaintiffs. To conduct this business, the NBA Defendants must

compete with each other for and retain the professional services of players, such as

Plaintiffs, who are signed to or are seeking to sign to contracts to play basketball for the

various NBA defendant teams.

               25.     The business of major league professional basketball is distinct

from other professional sports businesses, as well as from college and minor league

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professional basketball. Its distinguishing features include: the rules of the sport and the

season during which     it is played; the talents of and rates of compensation for the players,

for whom playing basketball is their full+ime profession; the nature and amounts of trade

and commerce involved; and the unique demand for the NBA Defendants' games by the

consuming public, both as ticket purchasers and as home viewers of and listeners to

television and radio.

              26.       The NBA Defendants' operation of and engagement in the business

of major league professional basketball involves a substantial volume of interstate trade

and commerce, including, inter alia, the following interstate activities: travel;

communications; purchases and movement of equipment; broadcasts and telecasts            of

league games; advertisements; promotions; sales of tickets and concession items; sales        of

merchandise and apparel; employment of players and referees; and negotiations for all         of

the above.

              27.       The NBA Defendants' aforesaid interstate transactions involve

collective annual expenditures and receipts in excess of $4 billion.

              28.       The Plaintiffs have been employed by and/or are seeking new

employment with, or     will   seek future employment with, one or more of the defendant

teams in interstate commerce as professional basketball players.

                                        BACKGROUND

The NBA's Historv of Antitrust Violations

              29.       The NBA Defendants enjoy a monopoly in the market for major

league professional basketball in the United States. The relevant market for assessing the

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restraint of trade at issue is the market for the services of major league professional

basketball players in the United States. Robertson v. National Basketball Ass'n. 67

F.R.D. 691, 694 & n.3 (S.D.N.Y.1975). Defendants exercise monopoly power in this

market.   See Denver Rockets v.   All-Pro Management.    Inc.   ,325 F. Supp. 1049, 1067

(C.D. CaL   l97l) (holding that the NBA's   four-year college rule a violation of Section I

of the Sherman Act because, in part, the NBA did not contest that it enjoys "market

power in a degree approaching a shared monopoly" with respect to player services); see

also Chicago Professional Sports Ltd. Partnership v. National Basketball Ass'n, 95 F.3d

593,599 (7th Cir. 1996) ("from the perspective of college basketball players who seek to

sell their skills, the teams are distinct, and because the human capital of players is not

readily transferable to other sports . . . the league looks more like a group of firms acting

as a monopsony").


              30.     The NBA Defendants comprise the only major league professional

basketball association in the United States. The NBA Defendants are the only United

States market participants for the services of major league professional basketball

players. Together, they monopolize and/or restrain trade in, and/or have combined and

conspired to monopolize andlor restrain trade in the United States market for the services

of major league professional basketball players. The only actual or potential competition

that exists in this market is among the separately-owned and independently-operated

NBA teams. Rather than engaging in competition for the players' services, however, the

NBA Defendants have combined and conspired to eliminate such competition among

themselves for NBA players through a goup boycott, price-fixing arrangement, and

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concerted refusal to deal, the purpose and effect of which is to prevent players from

offering their services to NBA teams in a competitive market and to coerce those players

into agreeing to a new set of anticompetitive restraints on competition for their services.

               31.     This is not the first instance of the NBA violating the federal

antitrust laws in an effort to minimize its labor costs. For example, in 1970, a group          of

fourteen players, led by Oscar Robertson, brought a putative class action challenging the

various anticompetitive NBA employment practices, including the College Draft and free

agency restrictions. In denying the NBA Defendants' motion for summary judgment, the

district court held that practically all of the restraints at issue were pc!   se   violations of the

Sherman Act and were invalid, as well, under the rule of reason.

Basketball Ass'n, 389 F. Supp. 867, 890-91 (S.D.N.Y. 1975). The action resulted in the

Robertson Settlement Agreement, as well as over $4.3 million to the plaintiffs in

damages. Another antitrust class action was filed against the NBA in 1987 known as the

Bridgeman class action. Bridgeman v. National Basketball Ass'n, Civ. A. No. 87-4189

(D.N.J. October 16, 1987). That action resulted in the Bridgeman class action settlement

agreement. And, the NBA was found guilty of engaging in per se unlawful practices in

the player market in Denver Rockets v. All-Pro Management. Inc. ,325            F   . Supp. 1049

(C.D. Cal. r97r).

The Expiration of the 2005 NBA CBA

               32.     The last collective bargaining agreement was entered into by the

NBA Defendants and the NBPA on July 29,2005 and was set to expire on June 30,2011

or, at the option of the NBA Defendants, could have been extended through 2012. The

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NBA Defendants declined to extend the agreement, because of its stated desire to achieve

a massive   "reset" in player salaries and the imposition of a new, far more restrictive set of

restraints in the player market that would severely reduce competition for the services    of

NBA players.

               33.       The 2005 CBA provided players with approximately 57%o of all

"Basketball Related Income"       ("BH"), generally, income received as a result of

basketball operations.

               34.       Since at least 2009, the NBA has expressed its unhappiness with the

CBA to the NBPA and indicated its intention to seek a massive reduction in player

salaries and a far more restrictive market for players. The NBA sought to begin early

negotiations for a new collective bargaining agreement and such negotiations, in fact,

began by February of 2010. Such negotiations continued for almost twenty months, but

ultimately proved to be futile.

               35.       On July 1,2005, when the 2005 CBA expired, the NBA Defendants

decided to impose a "lockout" of all NBA players. The stated purpose of this conduct is

to massively roll back player salaries and coerce the NBA players into agreeing to a new

onerous set of restraints on the market for player services. The NBA Defendants have

repeatedly and publicly stated that their goal is to increase their profit margins by

reducing the amount of money they pay to their players and by subjecting them to a new

set of anticompetitive player restraints.




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The Breakdown of Collective Barsainins. The End of the Union and The NBA's
Group Bovcott.

              36.     The NBPA spent almost two years attempting to negotiate a new

CBA with the NBA Defendants. Since July      l,   2011 alone, scores of collective

bargaining sessions have taken place. Twice, the Federal Mediation and Conciliation

Service was brought in to try to achieve a collective bargaining agreement.    All of these

bargaining efforts, however, proved to be fruitless and no new CBA could be negotiated.

              37.     On November 10, 2011, the NBA presented its final bargaining

ultimatum which, among other things, would have reduced the players' share of BRI from

57Yoto 50Vo and imposed a new set of restrictions on player competition that would have

wiped out the competitive market for most NBA players. The NBA informed the NBPA

that it was making this final "revised" offer for just a few days and that if the NBPA did

not accept this offer by the following Monday or Tuesday, the offer would be withdrawn

and replaced with an even more onerous offer that would reduce the players' BRI share to

47Yo and impose what amounted to a hard salary cap. The       NBA also indicated that its

offers would continue to get worse as time went on. The NBA unequivocally stated that         it

would not entertain any counter-offer from the NBPA to its final "take it or leave it"

proposal. Instead, the NBA declared that further bargaining over these terms was at an

end.




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Renunciation of anv Collective Bargainins Representation bv the NBA Plavers'
Union

              38.     With the NBA having declared that it would not further bargain, the

NBA Players concluded that the collective bargaining process had failed and that

maintaining a collective bargaining relationship with the NBA was no longer in the

interest of NBA players. Accordingly on November 14,2011, the Board of Player

Representative of the NBPA met and took action to immediately terminate the NBPA's

status as the players' collective bargaining representative effective at 12 noon, Eastern

time on November 14.2011.

              39.     Specifically, a substantial majority of NBA players had previously

signed aufhorization cards to empower the NBPA to disclaim the NBPA's role as the

collective bargaining representative of NBA players        if   it was determined that it was no

longer in the best interests of NBA players to remain in a union.

              40.     On November 14,         2}ll,the   Executive Committee of the NBPA,

along with the Board of Player Representatives, unanimously determined that the

collective bargaining process had failed and had no further prospect of achieving an

agreement. They therefore voted to immediately have the NBPA disclaim interest as the

bargaining representative of the NBA players and directed the association to change its

status to that of a trade association which would not engage in any collective bargaining.

              41.     On November 14. 2011. the NBPA formallv notified the NBA that

it was disclaiming interest in acting   as   the collective bargaining representative of NBA

players, effective as of 12 noon Eastern time on that day. The NBPA is in the process          of


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amending its bylaws to prohibit it or its members from engaging in collective bargaining

with the NBA, the NBA's member clubs or their agents.

              42.      The NBPA    will no longer represent players in grievances under the

expired CBA, and players will now have to pursue or defend any grievance with the NBA

or its members on an individual basis.

              43.      The NBPA has also ceased the regulation of player agents and all

other activities associated with being the collective bargaining representative of NBA

players.

              44.      The NBPA    will shortly file a labor orsanization termination notice

with the Department of Labor. An application by the NBPA will also shortly be filed

with the IRS to reclassiff the NBPA for tax purposes as a professional association rather

than a labor organization.

              45.      Despite being informed of the above disclaimer of collective

bargaining status by the NBPA, the NBA Defendants have made it clear that they intend

to continue their group boycott of plaintiffs and all other NBA players and will not cease

this boycott until the players agree to a new set of anticompetitive restraints and massive

roll back in their salaries. This conduct now constitutes ablatant violation of the antitrust

laws.

The NBA Defendants' Conduct llleeallv Eliminates Competition in the Market for
Plaver Services

              46.      The NBA Defendants have     jointly conspired and   agreed to impose,

a group boycott   prohibiting all competition for player services, player signings, and


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employment and/or a system of anticompetitive restraints on player movement, salaries,

contract signings, and payment of compensation due under existing contracts.

              47.      As part of this group boycott, all NBA Defendants have conspired

and agreed to prevent NBA teams from negotiating, or even communicating with, or

employing NBA players, thereby completely eliminating a competitive market for player

services. In addition, NBA teams have conspired and agreed not to honor existing

contracts with NBA players, by not paying them and precluding their access to team

facilities and personnel.

              48.      Neither the existence nor the terms of the NBA Defendants' group

boycott agreement is in dispute.

               49.     The owners' collective pulpose in imposing the group boycott is to

force the now non-unionized NBA players to agree to the massive wage reductions and

anticompetitive restrictions, which the NBA Defendants are seeking from the players.

               50.     The prohibition on player signings and/or employment by the NBA

Defendants constitutes an illegal group boycott, price-fixing agreement, and/or restraint

of trade in violation of the Sherman Act, under each of the pq se, "quick look" and rule

ofreason standards.

The NBA Defendants' Anticompetitive Behavior Is Not Protected bv Anv Labor
Exemption

               51.     The NBA Defendants are expected to argue, as they have in the

past, that their anticompetitive restraints are immune from antitrust scrutiny because   of



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the non-statutory labor exemption defense. However, the law makes clear that no such

defense is available here.

               52.    This Court in McNeil v. National Football League,764     F   . Supp.

l35l (D. Minn. I99I),   found that the following actions taken by NFL players ended the

collective bargaining relationship with the NFL:

               On November 3, 1989, the NFLPA's Executive Committee voted to
               renounce collective bargaining. On November 6,1989, the Committee
               advised the NFL Defendants that it would no longer engage in collective
               bargaining or represent players in grievances. Next, approximately sixty-
               two percent of the active players signed petitions revoking the authority of
               the NFLPA or any other entity to engage in collective bargaining on their
               behalf. On December 5, 1989, the NFLPA's player representatives
               unanimously adopted new bylaws that ended the organization's status as a
               collective bargaining representative. Under the new bylaws, no officer,
               employee or member of the NFLPA is authorized to discuss, deal or
               negotiate with the NFL or any of its member clubs or their agents. The
               NFLPA thus terminated its status as a labor organization. Reflecting its
               change in character and purpose, the NFLPA filed a labor organization
               termination notice with the United States Department of Labor. The
               Internal Revenue Service also changed the organization's tax-exempt status
               from that of a "labor organization" under $ 501(c)(5) of the Internal
               Revenue Code to that of a "business league" under $ 501(c)(6).

Id. at 1356.

               53.    Just earlier this year, in Brady v. NFL, this Court similarly observed

in the context of a preliminary injunction determination, that the non-statutory labor

exemption would end with their disclaimer of union status by the NFLPA. Brady v.

NFL, 779 F. Supp. 2d992 (D. Minn.     20ll) ("And   in contrast to the murky boundaries

presented by an impasse that occurs within an ongoing collective bargaining process, the

dissolution of the Players' former Union provides a clear boundary demarcating the end

of collective bargaining under labor law.").

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               54.     The NBA players have similarly taken action to end their collective

bargaining relationship with the NBA Defendants. Indeed, the NBA players have only

done so after enduring a lockout for more than four months and having the NBA declare

that it was no will negotiate about its "final" take it or leave it offer.

               55.     The Supreme Court of the United States has indicated that the non-

statutory labor exemption ends when a collective bargaining relationship has collapsed,

such as is the case here. As stated bv the Court:

               [A]n agreement among employers could be sufficiently distant in time and
               in circumstances from the collective-bargaining process that a rule
               permitting antitrust intervention would not significantly interfere with that
               process. See. e.g., 50 F.3d, at 1057 (suggesting that exemption lasts until
               collapse of the collective-bargaining relationship. as evidenced by
               decertification ofthe union). . . .

Brown v. Pro Football. Inc., 518 U.S. 231,250 (1996) (emphasis added). Here, the

collective bargaining process and relationship have completely broken down, and the

NBA players have exercised their labor law right not to be in      a   union. The non-statutory

labor exemption thus no longer applies and offers the NBA Defendants no basis to avoid

liability for its group boycott of NBA players under the federal antitrust laws.

The Iniuries of Plaintiffs and the Class

               56.     Upon information and belief, the NBA Defendants intend to

continue to impose their group boycott in the U.S. market for the services of major league

professional basketball players unless and until the players agree to the anticompetitive

set of restrictions and massive salary reductions being sought by the Defendants. Absent

this group boycott, the Plaintiffs and class members would be free to work in the 2011


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NBA season and to offer their services to NBA teams in a competitive market. Plaintiffs

and class members      will suffer   severe damages, totaling billions of dollars,   if they are

prevented from offering their services in a competitive market to NBA teams. Other

injuries being suffered by the Plaintiffs and Class are irreparable, as there is no

replacement for a lost NBA season in their short careers.

The Plaintiffs

                 57.     Plaintiff James Caron Butler,     a member   of the Free Agent Subclass,

is currently a free agent who last played with the Dallas Mavericks.

              58.        Plaintiff Ben Gordon,     a member of the Under-Contract Subclass, is


currently under contract with the Detroit Pistons.

               59.       Plaintiff Anthony Tolliver, another member of the Under-Contract

Subclass, is currently under contract with the Minnesota Timberwolves.

               60.       As a result of Defendants' boycott, the NBA Defendants are in

breach of, and tortiously interfering with, Mr. Gordon's and Mr. Tolliver's contracts.

                 61.      Plaintiff Derrick Williams,    a member   of the Rookie Subclass, has

been drafted by the Minnesota Timberwolves.

                 62.      Defendants' boycott may also prevent all of the Plaintiffs from

playing for any NBA team during the 201l-2012 NBA season or beyond.




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                                          COUNT     I
                         Violation of Section 1 of the Sherman Act

                63.     Plaintiffs repeat and reallege each of the allegations contained in

paragraphs   I through 62.

                64.     There is a relevant market for the services of major league

professional basketball players in the United States. The group boycott orchestrated by

the NBA Defendants is substantially restraining and injuring competition in that market

and   will continue to do so.

                65.     The group boycott constitutes an agreement among competitors to

eliminate competition for the services of major league professional basketball players in

the United States and to refuse to pay contractually-owed compensation to players

currently under contract with the NBA Defendants for the 201I season and beyond, in

violation of Section   I of the Sherman Act.

                66.     The NBA Defendants' conduct operates as a perpetual horizontal

group boycott and price-fixing agreement, which is pgf se unlawful.

                67.     The NBA Defendants' conduct also constitutes an unreasonable

restraint of trade under the "quick look" or rule of reason tests. The NBA Defendants

have significant market power in the relevant market. Their group boycott and price-

fixing agreement is a naked restraint of trade without any pro-competitive pu{pose or

effect. In fact, its objective is to reduce player wages and increase the profits of the NBA

Defendants through the imposition of a concerted refusal to deal. Moreover, the




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agreement is not in any way necessary for the production of NBA basketball or the

achievement of any pro-competitive objective.

               68.       Each of the NBA Defendants is a participant in this unlawful

combination or conspiracy.

               69.       The Plaintiffs and class members have suffered and     will suffer

antitrust injury to their business or property by reason of the continuation of this unlawful

combination or conspiracy. The NBA Defendants' boycott has injured and will continue

to injure Plaintiffs and class members by depriving them of the ability to work as, receive

contractually-mandated compensation for, and/or offer their services as professional

basketball players in a free and open market.

               70.       Monetary damages alone will not be adequate to compensate

Plaintiffs or other class members for the irreparable harm they have and will continue to

suffer, warranting permanent inj unctive relief.

               71.       The conduct of the NBA Defendants is causing and threatens to

cause monetary injuries to Plaintiffs and other class members that       will total billions of

dollars if the defendants continue their boycott for the entire 2011 NBA season.

                                           COUNT     II
                                      Breach of Contract

               72.       Plaintiffs repeat and reallege each of the allegations contained in

paragraphs   I through   71.

               73.       Plaintiffs and the Under-Contract Subclass include players who,          as


of July   l,20ll,   are under contract to play professional basketball   for an NBA team in

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what would have been the 2011 NBA season and thereafter. Pursuant to their group

boycott, NBA teams are preventing members of the Under-Contract Subclass from

working   as   professional basketball players and will refuse to pay them the compensation

mandated by their existing contracts. The aforesaid conduct violates the individual state

contract laws that apply to these contracts.

                 74.       Plaintiffs and the Under-Contract Subclass members will be

damaged by the NBA Defendants breaches of their contracts by a failure to receive

amounts that are contractually owed, and also by being deprived of the opportunity to

play professional basketball and further demonstrate their abilities on the basketball field.

                 75.       Monetary damages are not adequate to compensate Plaintiffs or

other class members for the irreparable harm they have and        will continue to suffer,

warranting injunctive relief.

                 76.       The conduct of the NBA Defendants has caused monetary injuries

to Plaintiffs and other class members, entitling them to damages for, among other things,

their lost compensation.

                                            COUNT      III
                                 Tortious Interference with Contract

                 77.       Plaintiffs repeat and reallege each of the allegations contained in

paragraphs     I through   76.

                 78.       Each of the NBA Defendants was aware of the contracts entered

into by Plaintiffs Gordon and Tolliver and the members of the Under-Contract Subclass




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with individual NBA teams. The NBA Defendants then intentionally procured the

breaches of those contracts with improper motive and without justification.

                 79.     By jointly conspiring and agreeing to refuse to make contractually-

owed payments, each of the NBA Defendants intentionally interfered with the rights      of

those Plaintiffs and class members with NBA Player Contracts for the 2011 NBA season

to receive the compensation and other benefits due under those contracts. Absent these

restrictions, the Plaintiffs and Subclass members with NBA Player Contracts for the 2011

season   would have received payments mandated by their contracts with NBA teams.

Plaintiffs Gordon and Tolliver and Under-Contract Subclass members have suffered

injury   as a result of the   NBA Defendants' actions.

                 80.     Plaintiffs and Subclass members with 2011 NBA Player Contracts

have suffered significant and irreparable injury as a result of the NBA Defendants'

tortious interference with contract. Among other things, these Plaintiffs and Subclass

members are being deprived of the ability to practice and compete as NBA players during

their very short NBA careers.

                 81.     Monetary damages are not adequate to compensate Plaintiffs or

other class members for the irreparable harm they have and will continue to suffer,

warranting injunctive relief.

                 82.     The conduct of the NBA Defendants has caused monetary injuries

to Plaintiffs and other class members, entitling them to damages for, among things, their

lost compensation.




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               83.     The NBA Defendants' tortious interference with contract violates

tort laws in the states in which such conduct is taking place.

                                         COUNT IV

              Tortious Interference with Prospective Contractual Relations

                84.     Plaintiffs repeat and reallege each of the allegations contained in

paragraphs 1 through 83.

                85.     By jointly conspiring and agreeing to impose a group boycott, each

of the NBA Defendants intentionally interfered with the rights of Plaintiffs Butler and

Williams and Free Agent Subclass and Rookie Subclass members to enter into

prospective contracts with NBA teams. Absent these restrictions, these Plaintiffs and

subclass members, in reasonable probability, would have entered into contracts with

NBA teams.

                86.     The aforesaid conduct was taken intentionally by the NBA

Defendants and is improper as it is intended to harm the players and earn monopoly

profits for the NBA Defendants by suppressing the market for player services in violation

of federal law.

                87.     Plaintiffs Butler and Williams and the Free Agent and Rookie

Subclass members      will be injured by the deprivation, by reason of the restrictions

imposed by the NBA Defendants, of the ability to negotiate and enter into contracts with

NBA teams. These Plaintiffs and Free Agent Subclass and Rookie Subclass members

will suffer   severe and irreparable harm   if they   are prevented   from entering into contracts

with NBA teams for the 2011 season or beyond.

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              88.     Monetary damages are not adequate to compensate Plaintiffs or

other class members for the irreparable harm they have and   will continue to suffer,

warranting injunctive relief.

              89.     The conduct of the NBA Defendants has caused monetary injuries

to Plaintiffs and other class members, entitling them to damages for, among other things,

their lost compensation.

                                PRAYER FOR RELIEF

              WHEREFORE, Plaintiffs pray for judgment with respect to their First

Amended Complaint as follows:

              1.     That the Court certifr this action as a class action under Rules

26(bxl), 23(b)(2) and/or 23(bX3) of the Federal Rules of Civil Procedure;

              2.     Declaring that the NBA Defendants' group boycott violates

Section 1 of the Sherman Act:

              3.      Declaring that Defendants' imposition of other anticompetitive

restrictions violates Section 1 of the Sherman Act;

              4.      Awarding Plaintiffs and class members treble the amount    of

damages they sustained as a result of the violations of the antitrust laws alleged herein;

               5.     Awarding Plaintiffs and class members a permanent injunction

against Defendants' group boycott and other anticompetitive restrictions in violation   of

Section 1 of the Sherman Act:

               6.     Awarding Plaintiffs and Under-Contract Subclass members the

damages they sustained as a result of the   NBA Defendants' breaches of contract;

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              l.       Awarding Plaintiffs and Under-Contract Subclass members the

damages they sustained as a result of the   NBA Defendants' interference with their

contracts;

              8.       Awarding Plaintiffs and Free Agent and Rookie Subclass members

the damages they sustained as a result of the NBA Defendants' interference with their

entering into prospective contracts;

              9.       Declaring that the NBA Defendants are obligated to pay all

contractually-owed amounts to Plaintiffs and Under-Contract Subclass members;

              10.      Awarding Plaintiffs their costs and disbursements in this action,

including reasonable attorneys' fees; and

              I   l.   Grantine Plaintiffs and class members such other and further relief.

including any appropriate injunctive relief, as may be appropriate.

                                   DEMAND FOR JURY

              Pursuant to Rule 38 of the Federal Rules of Civil Procedure. Plaintiffs

demand a trial by jury.

Dated: November 15,       20ll              Respectfully   S ubmitted,


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